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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of         )
herself and others similarly situated, et al., )
                                               )
                       Plaintiffs,             )
 v.                                            )       No. 17-cv-02122-TSC
                                               )
ALEX M. AZAR II, et al.,                       )
                                               )
                       Defendants.             )
                                               )


  PLAINTIFFS’ RENEWED MOTION FOR CLASS CERTIFICATION AND A
 PRELIMINARY INJUNCTION BASED ON NEW FACTS DEMONSTRATING
               CONTINUED NEED FOR URGENT RELIEF

       Plaintiffs submit this renewed motion for class certification (ECF No. 18), for

provisional class certification and notice (ECF No. 90), and for preliminary injunctive

relief (ECF No. 5). Since the filing of those motions, additional facts have come to light

that reveal the extreme lengths to which Defendants will go in their attempts to obstruct

access to abortion and coerce young girls into carrying their pregnancies to term. These

additional facts confirm Plaintiffs’ assertion that Defendants have violated, and will

continue to violate, the putative class members’ constitutional right to access abortion

unless and until they are enjoined from doing so by an order of this Court. Indeed, new

information shows that there have been multiple minors, not previously known to this

Court, who have requested access to abortion while in Defendants’ custody. In addition

to demonstrating ongoing irreparable harm, these new facts also confirm that Plaintiffs

easily satisfy the Rule 23(a) requirements for class certification. Accordingly, based on

Plaintiffs’ prior briefings and the additional information set forth below, Plaintiffs



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respectfully urge this Court to rule quickly on their motions for class certification, or

provisional class certification and notice, and for a preliminary injunction to prevent

Defendants from inflicting irreparable harm on additional pregnant minors in their

custody. See Mot. for Prelim. Inj. (ECF No. 5); Mot. for Class Cert. (ECF No. 18); Mot.

for Prov. Class Cert. & Notice (ECF No. 90).

   A. New Information Reveals That in the Span of Just a Few Months, Several
      Additional Minors Were Subjected to Defendants’ Unconstitutional Policy,
      Further Demonstrating the Breadth of the Class and Ongoing Irreparable
      Harm.

       Plaintiffs have obtained additional facts through discovery in American Civil

Liberties Union of Northern California v. Hargan, No. 3:16-cv-03539-LB (N.D. Cal.)

showing that minors, in addition to the named Plaintiffs, have suffered harm and that

more are likely suffering harm on a continuing basis due to Defendants’ policies of

coercion and obstruction. These additional facts intensify the urgency for class

certification and injunctive relief. In addition, they further support Plaintiffs’ showing of

numerosity/impracticability of joinder because the number of identifiable members in the

putative class continues to grow and the fact that Plaintiffs’ counsel are learning of these

putative class members only through discovery in a separate action (discovery which has

now closed) reflects the difficulty these young women have in obtaining counsel of their

own to assert their rights in court. See Reply in Support of Class Cert. (ECF No. 56), at

18-21 (explaining the relevance of Defendants’ obstruction of access of counsel and the

unique vulnerability of putative class members). Absent action from this Court, there is

no way for Plaintiffs, apart from relying on anonymous tips, to identify other members of

the putative class who have been or are currently being harmed by Defendants’

unconstitutional policy, or will be harmed in coming days, weeks, and months.


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       The evidence reveals that in the span of just five months – August of 2017 to

December of 2017 – at least six pregnant minors were considering abortion while in

Defendants’ custody and were subjected to Defendants’ coercion attempts, obstruction

and outright prevention. See Decl. of B. Amiri in Supp. of Pls.’ Renewed Mot. (“Decl. of

B. Amiri”) at Exs. A-M. This includes Jane Doe, Jane Poe and Jane Roe – three of the

named plaintiffs in this case – and three additional minors whose cases Plaintiffs’ counsel

became aware of only after reviewing documents obtained in discovery.

      In August 2017, a minor who was pregnant and had requested an abortion while

       residing at a shelter in Arizona was taken to a crisis pregnancy center, given

       spiritual counseling and ended up participating in a “family session” in which her

       mother was informed of her pregnancy and desire for abortion, in spite of the

       minor’s expressed desire that her family not be informed. See id., Ex. A,

       PRICE_PROD_00014828-29.

      Shortly thereafter, in September 2017, Jane Doe, the first named plaintiff in this

       case, was required to tell, or have ORR tell, her parents about her pregnancy and

       abortion decision, despite being “strongly opposed to parental notification,” and

       was also required to attend “life-affirming” spiritual counseling at a crisis

       pregnancy center – all prior to Defendant Lloyd’s determination that it would not

       be in her best interests to obtain an abortion because “the fetus and pregnancy was

       also a minor in care.” See id., Ex. B, PRICE_PROD_00014889-91; id., Ex. C,

       PRICE_PROD_00015152-53; id., Ex. D, Dep. Tr. of J. White at 86:19-25; 89:23

       – 90:20; 91:7 – 92:15.




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   Also around September 2017, yet another minor who was pregnant and

    contemplating an abortion while residing at an ORR shelter in California was sent

    for counseling at a Christian crisis pregnancy center, despite having indicated that

    she did not want to receive Christian services, and Director Lloyd further

    instructed shelter staff to notify her parents of her pregnancy and abortion request,

    regardless of the fact that she had declined to talk to her family herself and had

    not consented to having shelter staff tell them. See Decl. of B. Amiri, Ex. E,

    PRICE_PROD_00014814; id., Ex. F, PRICE_PROD_00014822-24.

   Less than a month later, in October 2017, yet another minor who was pregnant

    and requesting an abortion at a shelter in Texas was coerced into notifying her

    mother at Defendant Lloyd’s direction, and Defendant Lloyd also instructed that

    she be taken for “options” counseling at a Catholic Charities counseling center.

    See id., Ex. G, PRICE_PROD_00014815-16; id., Ex. H,

    PRICE_PROD_00015133-34.

   And then, in December 2017, Defendants imposed their policy on two of the other

    named plaintiffs in this case. In Ms. Poe’s case, Defendants employed a number

    of tactics aimed at coercing Ms. Poe into carrying her pregnancy to term, despite

    Defendants’ knowledge that she had stated she would prefer to harm herself rather

    than continue with the pregnancy. See id., Ex. I, PRICE_PROD_00015506. For

    example, Defendant Lloyd required Ms. Poe to either notify her parents of her

    pregnancy and abortion decision herself or have them be notified. See id., Ex. I,

    PRICE_PROD_00015504-11. During the required notification session, Ms. Poe’s

    family threatened to harm her if she had the abortion, causing her to temporarily



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       withdraw her request to obtain an abortion because – as she later stated when

       reasserting her request – she felt pressured by her mother and potential sponsor to

       continue with the pregnancy. See id., Ex. J, PRICE_PROD_00015514-16. After

       this attempt at coercion failed, Defendant Lloyd instructed staff to give Ms. Poe a

       pamphlet containing information about the risks of abortion and “the ability of

       unborn babies to feel pain,” to read her a detailed description of the abortion

       procedure from a Supreme Court case, to offer her a graphic image of the

       procedure, and to make sure she has “a proper understanding of the development

       of her baby,” all in further attempt to pressure her into carrying her pregnancy to

       term. See id., Ex. K, PRICE_PROD_00015450-53; id., Ex. L,

       PRICE_PROD_00015521-22.

      Defendants also required that Ms. Roe’s family members be notified of her

       pregnancy and abortion decision, regardless of whether or not ORR had her

       consent to inform them. See id., Ex. M, PRICE_PROD_00015591-94.

       Based on Defendants’ policy and prior practices, it is virtually certain that there

are other similarly situated pregnant minors who are in Defendants’ custody right now

and who have been or are currently being denied information about and/or access to

abortion services pursuant to Defendants’ unconstitutional policy. Without access to

these putative class members, and absent class certification and a preliminary injunction

as to the class, the constitutional rights of these minors will be violated, to the point

where they may be forced to carry their pregnancies to term against their will.

   B. New Facts Reinforce That Defendants Have a Uniform Policy of Coercion
      and Banning Abortion and Thus Plaintiffs Meet the Class Certification
      Commonality and Typicality Requirements.



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       The discovery materials also confirm Plaintiffs’ assertion that Defendants have

adopted and continue to enforce a uniform policy that is aimed at ensuring that all

pregnant minors in their custody continue their pregnancies, regardless of the minors’

wishes. The consistent manner in which Defendants have acted with respect to a rising

number of individual minors’ abortion requests confirms that there is “a uniform policy

or practice that affects all class members” in this case. DL v. District of Columbia, 713

F.3d 120, 128 (D.C. Cir. 2013); DL v. District of Columbia, 302 F.R.D. 1, 12 (D.D.C.

2013), aff’d on other grounds, 860 F.3d 713 (D.C. Cir. 2017) (finding commonality

“where plaintiffs allege[d] widespread wrongdoing by a defendant because [of] a uniform

policy or practice that affects all class members” (internal quotation marks omitted)); see

also Reply in Support of Class Cert. (ECF No. 56) at 3-9. The continued application of

the policy also demonstrates the dire need for class wide preliminary injunctive relief to

prevent ongoing, irreparable harm. See Mem. in Supp. Mot. for TRO & Prelim. Inj.

(ECF No. 5-1) at 14-16.

       As the discovery materials further show, pursuant to Defendants’ policy, once a

minor requests information about and/or access to abortion, Defendants require that a

number of coercive tactics be employed to break the minor’s resolve in her abortion

decision. These tactics include requiring that the minor’s parents or family members be

notified of her pregnancy and abortion decision, even over the objection of the minor and

even in cases where concerns are raised about the danger to the minor’s physical well-

being of revealing her abortion decision. See Decl. of B. Amiri, Ex. B,

PRICE_PROD_00014889 (shelters are “not to take [a minor] to get a termination, or to

any appointments to prepare her for a termination, without consent from the Director,



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which cannot happen without written and notarized consent of her parents…”); id., Ex.

G, PRICE_PROD_00014816 (when minors receive positive pregnancy tests “the parents

must be notified”); id., Ex. F, PRICE_PROD_00014822 (shelters should “notify [parents]

regardless of UAC’s wishes”); id., Ex. D, Dep. Tr. of J. White at 41:1 – 42:2 (explaining

that “[i]n many cases” another step has been notification of the parents in the minors’

home country of the minors’ abortion decision, even “over the objection of the minor”);

id. at 84:9-17 (confirming that one minor’s parents were notified of the minor’s abortion

decision even where the Young Center – an immigrants services organization that works

one-on-one with unaccompanied immigrant children who come to the U.S. fleeing

violence and abuse – had raised concerns about the ramifications of revealing the minor’s

abortion decision); see also id., Ex. N, Dep. Tr. of S. Lloyd at 133:3 – 134:1 (admitting

that he directed parental notification about a minor’s abortion decision). As Jonathan

White, Deputy Director of ORR, explained, this policy of forced notification puts minors

at risk of harm. See id., Ex. D, Dep. Tr. of J. White at 42:3 – 43:1 (stating that, based on

his social work background and training, he would “not recommend” notifying a minor’s

parents of her abortion decision over the minor’s objection “[b]ecause of the potential of

additional harm or risk”).

       Defendants’ policy also requires that minors who request access to abortion

receive “life-affirming” counseling from an anti-abortion crisis pregnancy center on the

Defendants’ list of “approved providers” – a list that was commissioned by Director

Lloyd and created with the assistance of two national Christian networks of anti-abortion

crisis pregnancy centers. See, e.g., id., Ex. B, PRICE_PROD_00014891 (when a young

person wants to terminate a pregnancy “the child should seek spiritual counseling,



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options counseling”); id., Ex. O, PRICE_PROD_00014997-98 (discussing creation and

origin of approved provider list); id., Ex. D, Dep. Tr. of J. White at 40:10-24 (noting that

one of the steps that a minor must take after notifying ORR that she desires an abortion

has been to visit a crisis pregnancy center). Indeed, Defendant Lloyd has admitted that

he asked the Center for Faith-Based and Neighborhood Partnerships to create an

“approved provider” list of “life-affirming” pregnancy centers and has required pregnant

minors to visit crisis pregnancy centers from this list for counseling. See id., Ex. N, Dep.

Tr. of S. Lloyd at 161:6 – 162:10 (requesting that Shannon Royce – the Director of the

Center for Faith-Based and Neighborhood Partnerships – identify “life-affirming” crisis

pregnancy centers to which programs may refer minors if they are pregnant and seeking

information about their options); id. at 133:3 – 134:1 (admitting that he required a minor

who had requested an abortion to visit a crisis pregnancy center). Defendant Lloyd has

also instructed that a minor be read and given a copy of a personalized letter from a

family offering to adopt her baby if she continued her pregnancy.

       The discovery materials further show that, even when a minor manages to

withstand all of Defendants’ coercion attempts, Defendants will still block the young

woman from accessing abortion – either by outright denying her abortion request or by

withholding the now-requisite “consent from the Director” until it is too late. Indeed,

Defendant Lloyd has clarified that, under ORR’s policy, shelters “are not to take [minors]

to get a termination, or to any appointments to prepare [them] for a termination, without

consent from the Director, which cannot happen without written and notarized consent of

her parents, and will not necessarily follow.” Decl. of B. Amiri, Ex. B,

PRICE_PROD_00014889 (emphasis added); see also id., Ex. P,



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PRICE_PROD_00014975 (where “pregnancy termination is being sought, [the parents]

will need to provide written and notarized consent, although Scott [Lloyd] advises that

this does not constitute a commitment for the Director to approve the request”) (emphasis

added); id., Ex. D, Dep. Tr. of J. White at 16:15 – 18:7; 47:22 – 48:8; 56:11-15; 68:4-9

(discussing ORR’s policy of requiring Director approval of all abortion requests and its

application). In other words, pursuant to Defendants’ policy, even where a minor’s

parents provide consent, Defendant Lloyd still retains for himself the power to veto both

the minor’s and her parents’ decision and deny the minor’s request. And Defendant

Lloyd has admitted that he has not approved any abortion request in his time as ORR

Director, even when the young woman was pregnant as a result of a rape, in part because

of his belief that abortion is the “destruction of human life,” and that it is his prerogative

to apply his belief to override a minor’s firm decision to have an abortion. See id., Ex. N,

Dep. Tr. of S. Lloyd at 64:19-21; 65:6-22; 114:11-13; 154:8-23. In other words, when

viewed in the context of Defendant Lloyd’s personal beliefs about abortion and his

failure to approve a single abortion request – even where the pregnancy is the result of

rape and even where, as in the case of Ms. Poe, the minor has threatened self-harm if she

is forced to carry to term – Defendants’ policy of conditioning minors’ abortion access on

Defendant Lloyd’s approval is, in effect, an unconstitutional ban on abortion for minors

in Defendants’ care in all cases, the sole exception being where the pregnancy is an

immediate threat to the young woman’s life. Accordingly, the additional evidence

regarding the existence and application of this uniform policy further rebuts Defendants’

arguments that class treatment is inappropriate because of purported factual differences

among the putative class members. See Reply in Support of Class Cert. (ECF No. 56), at



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2-6 (explaining how common legal claims challenging a uniform policy applied to class

member suffice to establish commonality).

   C. The Course of This Litigation Shows How Inherently Transitory Plaintiffs’
      Claims Are.

       Finally, although Defendants have argued at length that Jane Doe, Jane Roe and

Jane Moe are not adequate class representatives because they have already received

abortions and/or are no longer in the custody of ORR, see ECF No. 53 at 8-11; ECF No.

98 at 5-6; ECF No. 117 at 1-3, the proceedings to date in this case amply demonstrate

that that Plaintiffs’ claims are “inherently transitory” in nature, Cty. of Riverside v.

McLaughlin, 500 U.S. 44, 52 (1991); ECF No. 56 at 11-18; ECF No. 103 at 1; ECF No.

107 at 1-2, and therefore fall within the well-established exception to the mootness

doctrine. Defendants have no real response to this claim: They have conceded that there

is no established length of time that renders a claim “transitory” and that a central

consideration is whether a court has time to rule on class certification while the proposed

representative retains a live individual claim. See ECF No. 53 at 9-10. So far in this

litigation, four plaintiffs have sought relief: Jane Doe obtained an abortion with the aid

of a court order within 12 days of filing for class certification. Jane Poe obtained an

abortion with the aid of a court order within 5 days of joining the case. As for Jane Roe

and Jane Moe, the government released each of them from its custody within days of

filing their claims; Jane Roe was released within 4 days of filing her claim, Jane Moe

within 3 days. Given the frenetic pace of the litigation over these women’s motions for

emergency relief, the Court has understandably been unable to rule on class certification

prior to granting the TROs or the plaintiffs’ release. These spans of 12, 5, 4, and 3 days

fall comfortably within this Court’s jurisprudence on the “inherently transitory”


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exception. In fact, this Court has applied the “inherently transitory” rule to claims that

would be live for a “length . . . impossible to predict,” Thorpe v. District of Columbia,

916 F. Supp. 2d 65, 67 (D.D.C. 2013), to claims that would be live for “weeks or

months,” R.I.L-R. v. Johnson, 80 F. Supp. 3d 164, 183 (D.D.C. 2015), and even to claims

that would be live for two years (while the children at issue were aged three to five), DL,

302 F.R.D. at 20. This case presents four examples of plaintiffs whose claims became

moot far faster, and there is every reason to expect that future plaintiffs in the putative

class will obtain relief with comparable dispatch once they are able to bring their claims

before this Court.

        Defendants only response is to cite Genesis Healthcare Corp. v. Symczyk, 569

U.S. 66 (2013). But that case has no bearing here. First and “fundamentally,” as stressed

in Symczyk itself, 569 U.S. at 75, and as the D.C. Circuit has emphasized, Symczyk was

about conditional certification of a “collective action” under the Fair Labor Standards

Act, not about certification of a class under Rule 23. Id.; DL, 860 F.3d at 722. Thus,

because it “hinged on the unique features of the FLSA cause of action” Symczyk is

inapplicable in “Rule 23-land.” Id. at 722; accord Gomez v. Campbell-Ewald Co., 768

F.3d 871, 875 (9th Cir. 2014) (“[C]ourts have universally concluded that the Genesis

discussion does not apply to class actions.”), aff’d on other grounds, 136 S. Ct. 663

(2016). Second, the “inherently transitory” exception did not apply to the claim in

Symczyk — which was for unpaid wages — because “a claim for damages cannot evade

review; it remains live until it is settled, judicially resolved, or barred by a statute of

limitations.” 569 U.S. at 77. In this regard, the Court explicitly contrasted the damages

claim in Symczyk with “claims for injunctive relief challenging ongoing conduct,” id. —



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that is, the type of claim at issue here. Accordingly, Symczyk casts no doubt on Plaintiffs’

case for class certification.

                                         *     *     *

        In sum, Defendants continue to interfere with and obstruct pregnant minors’

access to abortion services. Indeed, even in the face of the temporary restraining orders

issued by this Court thus far, Defendants have doubled down on applying their policy to

minors in their care. Their persistence in this regard reaffirms the urgent need for class

certification and preliminary injunctive relief in order to protect the constitutional rights

and health of all putative class members who are currently or will be in Defendants’ care.

For these reasons, Plaintiffs respectfully urge this Court to grant their motion for class

certification, or alternatively their motion for provisional class certification and notice,

and to issue a preliminary injunction enjoining Defendants (along with their respective

successors in office, officers, agents, servants, employees, attorneys and anyone acting in

concert with them) from continuing to coerce and compel minors’ in their care into

carrying their pregnancies to term against their will.

        Amended proposed orders on the motions are attached.


March 2, 2018                                  Respectfully submitted,


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